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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


LIYANARA SANCHEZ, as next friend on behalf of
FRENGEL REYES MOTA, et al.,

Petitioners–Plaintiffs,

J.G.G., et al.,

Plaintiffs,                                                          Case No: 1:25-cv-00766-JEB

v.

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Respondents–Defendants.



                           NOTICE OF CHANGED CIRCUMSTANCES

          Petitioners-Plaintiffs (“Plaintiffs”) provide notice to the Court of significant new

developments bearing on this litigation. According to a declaration filed by the government in

J.O.P. v. United States Dep’t of Homeland Sec., No. 8:19-cv-01944 (D. Md.), 252 Venezuelan

nationals in El Salvador are being flown to Venezuela. J.O.P., ECF No. 352, Ex. A ¶ 7 (Declaration

of Mellissa B. Harper, U.S. Immigration and Customs Enforcement, Enforcement and Removal

Operations, Acting Assistant Director, filed July 18, 2025) (attached as Ex. A). The declaration

states that this is the result of “diplomatic efforts” that included the United States. Id. ¶ 8. It further

states:

          As part of these negotiations, the United States obtained assurances from the
          Maduro regime that (1) if and when U.S. legal proceedings reach a stage where the
          appearance of one of the 252 Venezuelan nationals formerly housed at CECOT may
          be called for in legal proceedings or required by a court; (2) if the U.S. government
          is prepared to facilitate the person’s travel to the United States for that purpose; and


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           (3) if the individual is willing to travel to the United States for that purpose, the
           Maduro regime will not impose obstacles to the individual’s travel.

Id. ¶ 9.

           These individuals appear to include all members of the certified class in this litigation,

based on the government’s representations in J.O.P., id. ¶ 8, a social media post from El Salvador’s

president, 1 and public reporting. 2 In light of these developments, Plaintiffs respectfully request

that this Court request an immediate status update from the government as to whether it is prepared

to bring the members of the class back to the United States for habeas proceedings.



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1
 Nayib Bukele, X (Jul. 18, 2025), https://x.com/nayibbukele/status/1946296384035918284.
2
 Prisoner Swap Frees Americans in Venezuela for Migrants in El Salvador, N.Y. Times, Jul. 18,
2025, https://www.nytimes.com/2025/07/18/world/americas/venezuela-us-prisoner-swap-
migrants-el-salvador.html.
                                                    2
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Dated: July 18, 2025                          Respectfully submitted,

                                              /s/ Lee Gelernt
Noelle Smith                                  Lee Gelernt (D.D.C. Bar No. NY0408)
Oscar Sarabia Roman                           Daniel Galindo (D.D.C. Bar No. NY035)
My Khanh Ngo (D.D.C. Bar No. CA00219)         Ashley Gorski
Cody Wofsy                                    Patrick Toomey
Spencer Amdur                                 Sidra Mahfooz
AMERICAN CIVIL LIBERTIES UNION                Omar Jadwat
FOUNDATION                                    Hina Shamsi (D.D.C. Bar No. MI0071)
425 California Street, Suite 700              Michael K.T. Tan
San Francisco, CA 94104                       AMERICAN CIVIL LIBERTIES UNION
(415) 343-0770                                FOUNDATION
nsmith@aclu.org                               125 Broad Street, 18th Floor
osarabia@aclu.org                             New York, NY 10004
mngo@aclu.org                                 (212) 549-2660
cwofsy@aclu.org                               lgelernt@aclu.org
samdur@aclu.org                               dgalindo@aclu.org
                                              agorski@aclu.org
Arthur B. Spitzer (D.C. Bar No. 235960)       ptoomey@aclu.org
Scott Michelman (D.C. Bar No. 1006945)        smahfooz@aclu.org
Aditi Shah (D.C. Bar No. 90033136)            ojadwat@aclu.org
AMERICAN CIVIL LIBERTIES UNION                hshamsi@aclu.org
FOUNDATION OF THE DISTRICT OF                 m.tan@aclu.org
COLUMBIA
529 14th Street, NW, Suite 722                Brian D. Netter (D.C. Bar No. 979362)
Washington, D.C. 20045                        Bradley Girard (D.C. Bar No. 1033743)
(202) 457-0800                                Christine L. Coogle (DC Bar No. 1738913)
aspitzer@acludc.org                           DEMOCRACY FORWARD FOUNDATION
smichelman@acludc.org                         P.O. Box 34553
ashah@acludc.org                              Washington, DC 20043
                                              Phone: (202) 448-9090
                                              Fax: (202) 796-4426
                                              bnetter@democracyforward.org
                                              bgirard@democracyforward.org
                                              ccoogle@democracyforward.org

                                              Attorneys for Petitioners-Plaintiffs




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